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                                                                       i,l                                                            j: i,f !Un
                     fN TITE UNITED STATES DISTRICT COI'RT T'OR Uni,ilr;:
                              SOUTITERNDISTRICT OF GEORGIA
                                    DIJB],IN DIVISION

UNITED STATES OF AMERICA
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                                                                ORDER


            Defendant has filed                         a motion for                             reduction       of sentence under

1B U.S,C.                S 3582(c) (2) on the                                 basis              that    Amendment 782 to                  the

United            States         Sencencing Cuidelines                                           has revi sed the              guidelines

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                                                                     rY       vn!F f a n q ^ a          F\.'an    ih^rr/-rh     Aman,.lmanr



782 became effecLive                                on November 1,                               2014, no defendant                 may be

released             on         the         basis         of          che            retroacL ive                amendment before

November L, 201,5. See U.S.S.G. Amend, 7BB.                                                                Thus, the Courc wilf

underLake a review                           of cases involving                                   drug crafficking               offenses

in due course.                        If    Defendant is                       entitled              to a sentence reduction

as      a       result           of         amendments to                          the            United        States         Sentencinq

GuideLines,                the         Court         wil-l          make such a reduction                                  sua sponte.

/^^n'       -linrrl V           nofan..Jant's                                    /doc.            no.   2qB ) is        DEFEIED-I
                                                          mocion

            ORDER ENTERED                                ilu9     uD      LC1/          Georsia, chis                    /Obo^o              ot

December, 2014.




                                                                                         U N I T E D S T A T E SD I S T R I C T J U D G E




            t                                       directed                   to        terminate              the    motion
                   The      Clerk            is                                                                                     for
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